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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                 Civil Action No.

     Plaintiff,                                     2:16-cv-00128-LGW-BWC

v.                                                  JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                           NOTICE OF APPEARANCE

        V. Severin Roberts, of Barrett & Farahany, hereby enters an appearance on

behalf of Robert Castleberry, the Plaintiff in the above-styled action, and requests

that copies of all communications, filings, and orders in this matter be directed to

the undersigned through electronic notification using the CM/ECF system.

        This 3rd day of March, 2019.

                                             BARRETT & FARAHANY

                                             s/ V. Severin Roberts
                                             V. Severin Roberts
                                             Georgia Bar No. 940504

                                             Attorney for Robert Castleberry

1100 Peachtree Street, Suite 500
Atlanta, Georgia 30309
Telephone: (404) 214-0120
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       Case 2:16-cv-00128-LGW-BWC Document 64 Filed 03/03/19 Page 2 of 2




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                  Civil Action No.

     Plaintiff,                                      2:16-cv-00128-LGW-BWC

v.                                                   JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                          CERTIFICATE OF SERVICE

        I hereby certify that on this day I filed the foregoing Notice of Appearance

with the Clerk of Court using the CM/ECF system which will send notification of

such filing to all counsel of record.

        This 3rd day of March, 2019.

                                              BARRETT & FARAHANY

                                              s/ V. Severin Roberts
                                              V. Severin Roberts
                                              Georgia Bar No. 940504

                                              Attorney for Robert Castleberry
